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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA



Acer, Inc.,
                                                       C.A. No. 1:21-cv-01390
               Plaintiff,

               v.

Volkswagen, AG and Volkswagen Group of
America, Inc.,

               Defendants.



                UNOPPOSED MOTION FOR EXTENSION OF TIME FOR
                   DEFENDANT TO RESPOND TO COMPLAINT

       Defendant Volkswagen Group of America, Inc. (“VWGoA”), by counsel and pursuant to

Fed. R. Civ. P. 6(b)(1) and Local Civil Rule 7(F)(2)(b), files this unopposed motion for an

extension of time up to and including Monday, February 7, to answer, plead, or otherwise

respond to the Complaint filed by Plaintiff Acer, Incorporated. Defendant states as follows:

       The Complaint in this matter was filed on December 15, 2021. Plaintiff served VWGoA

on December 17, 2021. VWGoA’s response to the Complaint is currently due on January 7,

2022. Volkswagen AG is also a defendant in this matter but has not yet been served. 1

       In the Complaint, Plaintiff has asserted infringement of five different patents:

      U.S. Patent 8,483,677, entitled “Method of Managing Mobility Management Layer of a

       Mobile Device,” which issued on July 9, 2013;

       1
        Volkswagen AG is a foreign entity, and must be served according to the Hague
Convention. Pursuant to corporate policy, counsel for VWGoA may not accept service for
Volkswagen AG nor can Volkswagen AG be served directly through VWGoA, through
summons or otherwise.


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      U.S. Patent 8,787,304, entitled “Method for Reference Signal Pattern Allocation and

       Related Communication Device,” which issued on July 22, 2014;

      U.S. Patent 8,798,663, entitled “Method of Performing Power Headroom Reporting and

       Communication Device Thereof,” which issued on August 5, 2014;

      U.S. Patent 9,363,059, entitled “Method of Handling Component Carrier Activation and

       Deactivation and Communication Device Thereof,” which issued on June 7, 2016; and

      U.S. Patent 9,426,765, entitled “Method of Handling Uplink Synchronization and Related

       Communication Device,” which issued on August 23, 2016.

Given the number and complexity of the patents and claims asserted against it, and in light of

extended office closings for holiday observances, VWGoA needs additional time to properly

investigate and respond to the many allegations in the Complaint.

       This extension does not present a risk of prejudice to Acer, Inc., and as the case remains

in the early stages of litigation, the extension will not significantly affect the proceedings. The

Court has not yet entered a scheduling order in this matter, and no other responsive motions are

pending before the Court. Counsel for VWGoA has spoken with Plaintiff’s counsel, and Plaintiff

does not oppose Defendant’s request for an extension of time.

       WHEREFORE, Defendant VWGoA respectfully requests that the Court enter the

attached order granting VWGoA an extension of time through and including February 7, 2022 to

answer, plead, or otherwise respond to the Complaint.




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Dated: December 29, 2021             Respectfully submitted,


                                     By: /s/ Daniel E. Yonan

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                            CERTIFICATE OF SERVICE

       I hereby certify that on December 29, 2021, a true and correct copy of the foregoing was

served using the Court’s CM/ECF system, with electronic notification of such filing to all

counsel of record.


                                             /s/ Daniel E. Yonan

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